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                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                           :
 IN RE:                                    :
                                           :   CHAPTER 13
 DONALD W. THORNTON,                       :
                                           :   BANKRUPTCY NO. 17-16397-MDC
                        Debtor.            :
                                           :

    ORDER DENYING MOTION FOR LEAVE TO FILE BANKRUPTCY PETITION

         AND NOW, this            day of                   , 2022, upon consideration of the

motion of Donald W. Thornton (the “Debtor”) to amend confirmed Chapter 13 Plan pursuant to

11 U.S.C. § 1329(d)(1) and for confirmation of amended Plan (the “Motion”); and the limited

objection to the Motion filed by Montgomery County Tax Claim Bureau, (the “Objection”); and

the Court having found for the reasons stated in the Objection, it is hereby

         ORDERED that the Objection is SUSTAINED, and the Motion is hereby DENIED.

                                               BY THE COURT



                                               Honorable Magdeline D. Coleman
                                               United States Bankruptcy Judge
Copies to: Attached Service List




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